Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4487   Page 1 of 35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4488   Page 2 of 35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4489   Page 3 of 35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4490   Page 4 of 35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4491   Page 5 of 35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4492   Page 6 of 35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4493   Page 7 of 35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4494   Page 8 of 35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4495   Page 9 of 35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4496   Page 10 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4497   Page 11 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4498   Page 12 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4499   Page 13 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4500   Page 14 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4501   Page 15 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4502   Page 16 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4503   Page 17 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4504   Page 18 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4505   Page 19 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4506   Page 20 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4507   Page 21 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4508   Page 22 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4509   Page 23 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4510   Page 24 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4511   Page 25 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4512   Page 26 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4513   Page 27 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4514   Page 28 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4515   Page 29 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4516   Page 30 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4517   Page 31 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4518   Page 32 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4519   Page 33 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4520   Page 34 of
                                     35
Case 2:08-cv-12719-SJM-MJH ECF No. 197-4 filed 11/03/10   PageID.4521   Page 35 of
                                     35
